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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

    In re:                                             Chapter 11

    AMERICAN PHYSICIAN PARTNERS,                       Case No. 23-11469 (BLS)
    LLC, et al.,1
                                                       Jointly Administered
                                   Debtors.
                                                       Hearing Date: Dec. 14, 2023 at 10:00 a.m. (ET)


                               STIPULATED SCHEDULING ORDER
                           WITH RESPECT TO CONFIRMATION OF PLAN

         In connection with the confirmation hearing (the “Confirmation Hearing”) for the Amended

Combined Disclosure Statement and Plan of Liquidation of American Physician Partners, LLC

and Its Affiliated Debtors Under Chapter 11 of the Bankruptcy Code [Docket No. 303] (as

amended or supplemented, the “Plan”); and upon the stipulation and agreement of the Debtors,

Goldman Sachs Specialty Lending Group, L.P., (the “Agent’) and the Official Committee of

Unsecured Creditors appointed in these cases (the “Committee”) (together, the “Parties”); and

sufficient cause appearing therefore; it is hereby

         ORDERED THAT:

         1.        The Debtors shall serve any responses or objections to requests for production of

documents from the Committee on or before November 22, 2023.

         2.        The Debtors shall produce documents responsive to the Committee’s pending

requests on or before November 22, 2023, and on a rolling basis thereafter if necessary. Any

documents produced by the Debtors and designated as confidential shall be subject to the



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  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://dm.epiq11.com/AmericanPhysicianPartneres. The location of American Physician
Partners, LLC’s principal place of business and the Debtors’ service address in these chapter 11 cases is 5121
Maryland Way Suite 300, Brentwood, TN 37027.



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confidentiality restrictions in the Committee’s by-laws. The Parties agree that notwithstanding the

Committee’s requests for production submitted to the Agent prior to the date hereof, the Agent

shall not be required to submit any responses, objections or documents prior to the November 22,

2023 deadline set forth therein, and that the Committee shall provide the Agent with written notice

of any intent to enforce such requests for production following its review of the Debtors’

responses; provided, all rights of the Parties with respect thereto remain reserved.

         3.        The Parties shall provide each other with a list of proposed witnesses (except

witnesses offered solely for the purposes of rebuttal) in connection with the confirmation of the

Plan on or before November 29, 2023, except that the lists of witnesses may be thereafter

supplemented by the disclosing Party based upon information obtained through discovery.

Depositions of all witnesses timely identified by a Party shall take place, by virtual means, on or

before December 9, 2023.

         4.        No witnesses (except witnesses offered solely for the purposes of rebuttal) may

provide testimony to the Court in connection with the Plan without having made themselves

available for deposition.

         5.        Each Party shall file a witness and exhibit list with the Court by no later than

December 12, 2023 at 12:00 p.m. (ET).

         6.        The deadlines provided herein may be extended by written agreement of the Parties

or order of the Court.

         7.        The Court shall retain exclusive jurisdiction with respect to all matters arising from

or related to the implementation or interpretation of this Order.




Dated: November 14th, 2023                           BRENDAN L. SHANNON
Wilmington, Delaware                                 UNITED STATES BANKRUPTCY JUDGE



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